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10
                              UNITED STATES DISTRICT COURT
11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                               SAN FRANCISCO DIVISION

13    IN RE OPTICAL DISK DRIVE                 Case No. 10-MD-02143-RS
      PRODUCTS ANTITRUST LITIGATION            MDL No. 2143
14    __________________________________
15    This document relates to: ALL INDIRECT
      PURCHASER ACTIONS
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                                               CONNER ERWIN’S NOTICE AND
18                                             STIPULATION OF NO FURTHER
                                               APPEAL FROM THE NINTH CIRCUIT’S
19                                             JUNE 6, 2022 OPINION
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     ________________________________________________________________________________
              Case 3:10-md-02143-RS Document 3095 Filed 07/29/22 Page 2 of 4




             Conner Erwin files this Notice to advise and further stipulate that he is not pursuing further
 1
 2   appellate relief in connection with the Ninth Circuit’s June 6, 2022 Memorandum Opinion affirming

 3   in part, and vacating in part this Court’s July 2, 2021 Order Granting in Part Renewed Motion for

 4   Attorney Fees and Denying Motion to Enforce Settlement, Return Class Funds, and Disgorge Fees
 5   (Dkt. 3027). See In re Optical Disk Drive Prods Antitrust Litig., No. 21-16291, 2022 U.S. App. LEXIS
 6   15571 (9th Cir. 2022) (ODD III).1
 7
             The Ninth Circuit remanded for this Court “to recalculate the award using the proper
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     starting point of $22,205,000.” ODD III, 2022 U.S. App. LEXIS 15571, at *9. Additionally, it
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     observed that “on remand the district court would not abuse its discretion in awarding HB
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11   $26,646,000 which represents a 20% upward departure from HB’s bid of $22,205,000.” Id. at *10

12   n.4. The Ninth Circuit’s mandate issued on July 25, 2022. See Dkt. 3094.

13           As the Court is aware, under the Court’s Order Approving IPP’s Revised Plan of
14   Distribution and Schedule, IPPS must file their proposed Second Round Distribution plan and
15
     amounts with the Court by September 2, 2022. See Dkt. 3089 at 1−2. The Secondary Distribution is
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     scheduled for September 19−30, 2022. See id. at 2. Any reduction in fees would ostensibly need to
17
     be made ahead of September 2nd to inure directly to the class members’ benefit via a Secondary
18
19   Distribution. Erwin additionally notes that, pursuant to the Ninth Circuit’s instructions, he intends

20   to move for an incentive award and an award of attorneys’ fees (to come from class counsels’ fees)

21   to the extent the Court makes a fee reduction. See ODD III, 2022 U.S. App. LEXIS 15571, at *10 n.5
22   (“On remand, commensurate with its determination of proper attorneys’ fees pursuant to this
23
     memorandum, the district court shall determine what fees, if any, Erwin is entitled to receiving for
24
     benefitting the class under the equitable principles set forth in Rodriguez v. Disner, 688 F.3d 645, 658
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26   1
       Erwin’s counsel emailed class counsel on July 29, 2022 to inquire whether they intend to appeal
     from the Ninth Circuit’s July 2, 2021 opinion. As of the filing of this Notice, they have not
27   responded.
28                                                      1
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     (9th Cir. 2012)”).
 1
 2
 3   Dated: July 29, 2022                       Respectfully submitted,

 4                                              /s/ Robert W. Clore
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                                              Certificate of Service
 1
 2           The undersigned certifies that today he filed the foregoing on ECF which will send

 3   electronic notification to all attorneys registered for ECF-filing.

 4   DATED: July 29, 2022

 5                                                            /s/ Robert W. Clore
                                                              Robert W. Clore
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